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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS


 LARRY GOLDEN,

                 Plaintiff,
                                                          No. 23-811 C
           v.
                                                          Senior Judge Eric G. Bruggink
 THE UNITED STATES,

                 Defendant.


                   DEFENDANT THE UNITED STATES’
  REPLY IN SUPPORT OF THE GOVERNMENT’S MOTION TO DISMISS [DKT. 10]

       This is the fourth suit that Plaintiff Larry Golden has filed against Defendant the United

States (the Government) in this Court. All four suits stem from Mr. Golden’s allegations that the

Government has utilized technology described in his various patents. 1

       The Court has dismissed each of Mr. Golden’s three previous suits. The Government

moved for the Court to dismiss this case as well. Dkt. 10. The Government noted that Mr.

Golden’s present suit appears to have been filed due to Mr. Golden’s fundamental

misunderstanding of a Federal Circuit opinion issued in one of his district court suits, which Mr.

Golden mistakenly interpreted as a ruling on the merits of his infringement allegations. Id. at 14–

15 (citing Golden v. Apple, Inc., 2022 WL 4103285 (Fed. Cir. Sept. 8, 2022)). As a result, the

Government explained, Mr. Golden now seeks to relitigate previously dismissed infringement



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         As noted in the Government’s Motion to Dismiss, Mr. Golden has also filed nine district
court suits against various electronics manufacturers, all based on his allegations that those firms
also used the technology described in his patents. See Dkt. 10 at 4–5. In all nine of those suits,
Mr. Golden’s complaint was dismissed by the respective district court without the case advancing
beyond the pleading stage. See id.; see also, e.g., Ex. 1 (Order Granting Motion to Dismiss with
Leave to Amend, Golden v. Google LLC, No. 22-cv-05246-HSG, Dkt. 11 (N.D. Cal. Aug. 10,
2023)).


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claims that (1) are now barred by claim preclusion and the Kessler doctrine, id. at 11–14, and (2)

fail to plausibly allege any theory of infringement by the Government, id. at 16–19.

       Mr. Golden’s response (Dkt. 20) confirms that the analysis in the Government’s motion

was correct, and that his present case should be dismissed by the Court as well. Mr. Golden again

argues that “a determination has [already] been made on direct infringement” by the Federal

Circuit. Dkt. 20 at 6. But as the Northern District of California correctly noted in its recently-

issued August 10 opinion dismissing Mr. Golden’s complaint in Golden v. Google—a complaint

that Mr. Golden describes as “practically identical” to his complaint in the present case, Dkt. 1 at

5 (¶ 15)—Mr. Golden’s interpretation of that Federal Circuit opinion is mistaken:

       [Mr. Golden] argues that Google’s motion to dismiss is barred by “issue preclusion”
       as a result of the 2022 appeal to the Federal Circuit (and the underlying South
       Carolina case). In its opinion, however, the Federal Circuit specifically stated that
       its “decision does not preclude subsequent motions to dismiss by the defendant for
       failure to state a claim.” Issue preclusion does not bar Google’s motion to dismiss.

Ex. 1 (Order Granting Motion to Dismiss with Leave to Amend, Golden v. Google LLC, No. 22-

cv-05246-HSG, Dkt. 11 (N.D. Cal. Aug. 10, 2023)) at 6 n.6 (citations omitted).

       In other words, the basis for Mr. Golden’s present suit is his belief that the Federal Circuit

has already held that all commercial smartphone devices infringe his patents. See Dkt. 20 at 7–11

(characterizing the Federal Circuit’s opinion as a holding that any “Smartphone” model infringes

his patent claims); see also id. at 15–17 (claiming that “111 Apple smartphone models” totaling

“more than 2.2 billion iPhones,” “1,300 brands that have produced over 24,000 distinct Android

devices,” and “more than 800 million” Windows devices infringe his patents). But Mr. Golden’s

belief is fundamentally incorrect—the Federal Circuit specifically stated that it was “express[ing]

no opinion as to the adequacy of the complaint or claim chart except that it is not facially

frivolous,” and was not “preclud[ing] subsequent motions to dismiss,” 2022 WL 4103285 at *2




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(emphasis added), as recognized by the Northern District of California days ago in dismissing

Golden’s “practically identical” infringement suit against Google, see Ex. 1 at 6 n.6.

       As a result of this misunderstanding, Mr. Golden’s latest complaint seeks to relitigate the

same infringement allegations against commercial smartphone devices that were dismissed with

prejudice in Golden I (No. 13-307), and which are now barred by claim preclusion and the Kessler

doctrine. See Dkt. 10 at 1–2 (citing Golden v. United States, 156 Fed. Cl. 623, 632 (2021), aff’d,

2022 WL 4103287, at *2 (Fed. Cir. Sept. 8, 2022)), 11–14. Mr. Golden’s response only further

confirms that his present suit is again directed to those already-dismissed infringement allegations,

characterizing the Apple, Samsung, and LG smartphone models previously accused of

infringement in Golden I as functionally and structurally equivalent to the Google smartphone

models ostensibly accused of infringement in this case. See Dkt. 20 at 20 (grouping the “Google

Pixel 5” with the “Apple iPhone 12,” “Samsung Galaxy S21,” and “LG V60” that were accused

of infringement in Golden I); see also id. at 15–17 (accusing all Apple, Samsung, and LG

smartphone models of infringement). Mr. Golden’s infringement claims are precluded and should

be dismissed.

       Further, in addition to confirming that Mr. Golden’s infringement allegations in the present

case are precluded, Mr. Golden’s response also illustrates that—as in Golden I—he simply cannot

allege any plausible theory of infringement by the Government. See Dkt. 10 at 16–19. In

dismissing Mr. Golden’s complaint against Google, the Northern District of California noted that

Mr. Golden’s infringement allegations were not directed to Google smartphones alone, but instead

required those Google smartphones to have first downloaded and installed a particular software

application (“ATAK”), a software application that Mr. Golden did not allege that Google either

manufactured or sold. See Ex. 1 at 4, 6. And Mr. Golden’s response here further confirms that he




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is not alleging that Government use or manufacture of the accused smartphones alone—or even of

those smartphones with ATAK installed—is sufficient to infringe his asserted patent claims.

       Rather, Mr. Golden’s complaint and response allege that smartphones with ATAK are

capable of infringing—but that infringement only occurs when such smartphones are further

modified and combined with other third-party software applications and hardware devices. See

Dkt. 20 at 10–11 (arguing that “CBRN-sensing technologies” such as “a wearable smartwatch . . .

or a device mounted on a drone to detect chemical warfare agents,” and “Google Nest x Yale

Lock” are required to infringe Mr. Golden’s asserted patent claims); see also id. at 16, 17, 20

(alleging that the accused smartphones can infringe if “CBRNE plugins” from “third-party

developers” are additionally installed); Dkt. 1 at 15, 16, 27, 30–32, 34 (describing various third-

party software and hardware allegedly required to infringe Mr. Golden’s asserted patent claims).

       As this Court previously noted in Golden I, it is insufficient “merely to claim that a device

may be modified in a way that makes it capable of operating in an infringing manner.” 2021 WL

3238860, at *6 (citing Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316, 1330 (Fed.

Cir. 2001)); see also Ex. 1 at 4–5 (citing Nazomi Comm’s, Inc. v. Nokia Corp., 739 F.3d 1339,

1346 (Fed. Cir. 2014)). And Mr. Golden’s complaint and response do not explain how the

Government is ostensibly responsible for the manufacture or use of the various third-party software

and hardware that Mr. Golden’s infringement allegations require, such as “a wearable smartwatch”

or the “Google Nest x Yale Lock,” let alone the accused commercial smartphones themselves. See

Golden v. United States, 156 Fed. Cl. at 629 (noting “the overarching mystery present in all of

plaintiff’s pleadings—how the government is on the hook for the private parties’ products.”)

       In sum, Mr. Golden’s infringement allegations in the present case are not only barred by

claim preclusion and the Kessler doctrine, but also fail to set forth any plausible theory for how




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the Government allegedly infringes any of his asserted patent claims. This case, like Mr. Golden’s

previous three suits against the Government, should be dismissed.

                                        CONCLUSION

       The Government respectfully requests that the Court grant the Government’s motion and

dismiss Plaintiff’s Complaint with prejudice.

                                                Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing “DEFENDANT THE UNITED STATES’

REPLY IN SUPPORT OF THE GOVERNMENT’S MOTION TO DISMISS” was sent on August

21, 2023, via e-mail and U.S. Mail, to:

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                                                      /s/ Grant D. Johnson
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